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                                                        THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   UNITED STATES OF AMERICA,                                 CASE NO. CR21-0160-JCC
10                              Plaintiff,                     ORDER
11          v.

12   ALONSO RAMIREZ-CRUZ and IVAN
     SUBIA,
13
                                Defendants.
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            This matter comes before the Court on the parties’ stipulated motion to continue trial and
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     pretrial deadlines. (Dkt. No. 36.) Defendants were charged by criminal complaint with a
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     controlled substance offense and arrested in August 2021. (Dkt. Nos. 1, 36 at 1.) Trial is
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     currently set for December 6, 2021. (Dkt. Nos. 34–35.)
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            The parties’ stipulation indicates that defense counsel needs time to review two batches
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     of discovery from the Government, independently investigate the case, counsel their clients, and
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     take further discovery that is still outstanding. (Dkt. No. 36 at 1–2.)
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            Having thoroughly considered the briefing and the relevant record, the Court FINDS that
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     the ends of justice served by granting a continuance outweigh the best interests of Defendants
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     and the public to a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The reasons for this finding are:
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            1.       Taking into account the exercise of due diligence, a failure to grant a continuance
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 1   would deny defense counsel the reasonable time necessary for effective preparation due to

 2   counsel’s need for more time to review the evidence, consider possible defenses, and gather

 3   evidence material to the defense as set forth in 18 U.S.C. § 3161(h)(7)(B)(iv);

 4          2.       Failure to grant such a continuance would be likely to result in a miscarriage of

 5   justice as set forth in 18 U.S.C. § 3161(h)(7)(B)(i);

 6          3.       The additional time requested between the current trial date and the new trial date

 7   is necessary to provide defense counsel the reasonable time necessary to prepare for trial, engage

 8   in discovery, and counsel their clients, considering counsel’s schedules and all of the facts set
 9   forth above.
10          Accordingly, the Court ORDERS:
11          1.       The parties’ stipulated motion (Dkt. No. 36) is GRANTED.
12          2.       The December 6, 2021 jury trial is CONTINUED to May 2, 2022.
13          3.       The pretrial motions deadline is CONTINUED until March 24, 2022.
14          4.       The period from the date of this order until May 2, 2022 is an excludable period
15   under 18 U.S.C. § 3161(h)(7)(A).
16

17          DATED this 19th day of November 2021.




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                                                             John C. Coughenour
21                                                           UNITED STATES DISTRICT JUDGE
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